545 F.2d 686
    John R. GRUMBLING, Individually and as PersonalRepresentative of the Estate of Freida MaeGrumbling, Deceased, Plaintiff-Appellee,v.MEDALLION INSURANCE COMPANY, a Missouri Corporation,Defendant-Appellant.
    No. 75-2689.
    United States Court of Appeals,Ninth Circuit.
    Sept. 14, 1976.
    
      James G. Breathouwer (argued), Bemis &amp; Breathouwer, Portland, Or., for defendant-appellant.
      Roger B. Todd (argued), Flaxel, Todd &amp; Flaxel, North Bend, Or., for plaintiff-appellee.
      Before TRASK and GOODWIN, Circuit Judges, and JAMESON,* District Judge.
      PER CURIAM:
    
    
      1
      This case began as a diversity action brought in the district court by the plaintiff individually and as personal representative of his deceased wife's estate to recover the difference between judgments recovered in personal injury and wrongful death actions and the limits of liability under appellant's policy of liability insurance issued to appellee.
    
    
      2
      The trial court found for the appellee and entered its judgment in the amount of $107,497.27 plus interest, costs and an attorney's fee in the amount of $12,500.
    
    
      3
      We affirm on the basis of the opinion of the United States District Court for the District of Oregon which is reported at 392 F.Supp. 717 (D.Or.1975).
    
    
      4
      Judgment affirmed.
    
    
      
        *
         Honorable William J. Jameson, United States Senior District Judge for the District of Montana, sitting by designation
      
    
    